Case 3:15-cv-00376-CWR-FKB Document 1 Filed 05/21/15 Page 1 of 17
Case 3:15-cv-00376-CWR-FKB Document 1 Filed 05/21/15 Page 2 of 17
Case 3:15-cv-00376-CWR-FKB Document 1 Filed 05/21/15 Page 3 of 17
Case 3:15-cv-00376-CWR-FKB Document 1 Filed 05/21/15 Page 4 of 17
Case 3:15-cv-00376-CWR-FKB Document 1 Filed 05/21/15 Page 5 of 17
Case 3:15-cv-00376-CWR-FKB Document 1 Filed 05/21/15 Page 6 of 17
Case 3:15-cv-00376-CWR-FKB Document 1 Filed 05/21/15 Page 7 of 17
Case 3:15-cv-00376-CWR-FKB Document 1 Filed 05/21/15 Page 8 of 17
Case 3:15-cv-00376-CWR-FKB Document 1 Filed 05/21/15 Page 9 of 17
Case 3:15-cv-00376-CWR-FKB Document 1 Filed 05/21/15 Page 10 of 17
Case 3:15-cv-00376-CWR-FKB Document 1 Filed 05/21/15 Page 11 of 17
Case 3:15-cv-00376-CWR-FKB Document 1 Filed 05/21/15 Page 12 of 17
Case 3:15-cv-00376-CWR-FKB Document 1 Filed 05/21/15 Page 13 of 17
Case 3:15-cv-00376-CWR-FKB Document 1 Filed 05/21/15 Page 14 of 17
Case 3:15-cv-00376-CWR-FKB Document 1 Filed 05/21/15 Page 15 of 17
Case 3:15-cv-00376-CWR-FKB Document 1 Filed 05/21/15 Page 16 of 17
Case 3:15-cv-00376-CWR-FKB Document 1 Filed 05/21/15 Page 17 of 17
